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(3/15)


                               UNITED STATES DISTRICT COURT
                                                              for
                                            Eastern District of Washington


U.S.A. vs.                    Cassidy, II, Lucas T.                       Docket No.         0980 2:17CR00128-RMP-9


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Jonathan C. Bot, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Lucas T. Cassidy, II, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers sitting in the court at Spokane, Washington, on the 6th day of September, 2017, under the following
conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #2: Mr. Cassidy was cited by the Spokane County Sheriff's Office for a misdemeanor theft-3 charge on October
6, 2017, and failed to report this incident to his pretrial services officer within 1 business day.

Violation #3: The defendant tested presumptive positive for morphine on October 12, 2017.

 PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                      PREVIOUSLY REPORTED TO THE COURT

                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:        October 23, 2017
                                                                    by      s/Jonathan C. Bot
                                                                            Jonathan C. Bot
                                                                            U.S. Pretrial Services Officer
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THE COURT ORDERS

[ ]       No Action
[ ]       The Issuance of a Warrant
[ ]       The Issuance of a Summons
[X ]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
[ ]       Defendant to appear before the Judge assigned to the case.
[ ]       Defendant to appear before the Magistrate Judge.
[ ]       Other


                                                                         Signature of Judicial Officer

                                                                           October 23, 2017
                                                                         Date
